
*863OPINION.
Murdock :
A careful analysis of the balance sheets and yearly expenses made in connection with the other evidence in the case convinces us that capital was not a material income-producing factor with this corporation. All of its stockholders were regularly engaged in the active conduct of its affairs. Each was able to perform and each performed one of the necessary steps in the creation of a valuable and salable thing from an inexpensive raw material.
It is contended that when this finished product was sold the petitioner was trading as a principal and that therefore it can not receive personal service classification. We do not believe that the phrase “ trading as a principal,” used in section 200 of the Revenue Acts of 1918 and 1921, was ever intended as a bar to personal service classification where, as in this case, the customers of the petitioner in purchasing the finished product really purchased the skill, ability and service of the men who made it.
There remains for our consideration the only other question raised by the respondent, viz, Is the income of this corporation for the years in question to be ascribed primarily to the activities of the principal owners or stockholders? It employed eight skilled nonstock-holding workmen whose duties and whose abilities differed but little from the duties and abilities of the stockholders. The salaries of these men were steadily increasing in importance in the petitioner’s finances. However, the uncontradicted testimony is that the corporation, without these employees, had been able to function and produce an equal amount of income, whereas the corporation could not have functioned without the labor, skill and supervision of the stockholders. There was also testimony that a large part of the work of these assistants was to carry out details which required skill of a kind, but of a different kind and of a lesser degree than that of the supervising stockholders. Consequently we hold that the income of this corporation is to be ascribed primarily to the activities of the principal owners or stockholders, and that for each of the years 1919, 1920, and 1921, the petitioner was a personal service corporation *864within the meaning of section 200 of the Revenue Acts of 1918 and 1921. See Cocks-Clark Engraving Co. v. Commissioner, 8 B. T. A. 468.
Reviewed by the Board.

Judgment will be entered on notice of 15 days under Bule 50.

